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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNl'l/[ENT TO UNITED STATES MAGIS'I`RATE JU])GE FOR DISCOVERY

This case has been assigned to Distriot Judge Gary A. Feess and the assigned discovery
Magistrate lodge is Stephen J. Hillman.

The case number on all documents filed With the Cou.rt should read as follows:

CVlB-.~ 5 GAF (SHx)

Pursuant to General Order' 05 -07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served Wilh the summons and complaint on all defendants (if a removal acfion is
riled, a copy of this notice must be served on all plainfili’s).

Sub quent documents must be filed et the following |ocation:

Western Division [_] Southern Di\rision Eastern Divislon
312 N. Spring St., Rm. G-B 411 West Fourl:h St., Rm. 1-053 3470 Twe|fl:h St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701~4516 Ri\rerside, CA 92501

Fal|ure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNN|ENT TO UNlTED STATES MAGISTRATE JUDGE FOR D|SCOVERY

 

 

Case 2:13-cV-OOOO5-GAF-SH Document 1 Filed 01/02/13 _Page 74 of 75 Page lD #:77

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